The appellate division of the civil court of Fulton County did not err in affirming the judgment of the trial judge denying a new trial.
                       DECIDED SEPTEMBER 20, 1945.
In April, 1943, Mrs. Mildred Frierson, under a written contract, became the lessee of a house and lot in the City of Atlanta for a term of three years at an agreed monthly rental of sixty dollars. She moved in and paid that amount for several months. Thereafter, and before the expiration of the lease, the Office of Price Administration, Atlanta Defense Rental Area, ordered that the monthly rental be reduced to thirty-five dollars. Thereafter the tenant refused to pay the amount stipulated in the lease-contract, and tendered thirty-five dollars instead, which tender was refused by the landlord. (The rent contract was executed subsequently to the establishment of the rent control for the Atlanta area.) The landlord swore out a dispossessory warrant for the removal of the tenant, alleging that she was holding the premises over and beyond the term for which they were leased to her, that he had demanded possession of the premises, and that the demand had been refused by the tenant. The warrant was issued, commanding that the tenant be removed from the premises, and that possession of the same be delivered to the landlord. The warrant was served upon the tenant, with notice that at the expiration of three days the warrant would be executed. The tenant in her sworn answer denied that she was holding the premises beyond the term of the lease-contract; and alleged that she had paid all of the monthly rentals, and at no time had been in default. Upon the hearing of the case in the civil court of Fulton County, the judge, trying the case *Page 826 
without a jury, rendered a judgment for the defendant tenant. The plaintiff moved for a new trial on the grounds that the judgment was decidedly against the weight of the evidence, was contrary to law and the evidence, and "was without evidence to support it, in that there had been an abrogation of the lease-contract in that the defendant was not paying the rent stipulated in the lease contract, as shown by the testimony of the defendant."
A new trial was denied by the trial judge, that judgment was affirmed by the appellate division of the court, and the latter judgment is assigned as error in the present bill of exceptions.
This court certified to the Supreme Court the question, whether, under the above-stated facts, the refusal of the tenant to pay the amount of the monthly rental as stipulated in the lease-contract amounted to a breach of the contract, and authorized the landlord to rescind the contract and to treat the tenant as a tenant at will.
The Supreme Court answered the question in the negative, and said: "Section 204 (d) of the emergency price control act of 1942 (56 Stat. 23, 50 U.S.C. App. Supp. 11, §§ 901 et seq.), as amended by the stabilization extension act of 1944 (58 Stat. 640,50 U.S.C.A. App., § 925), provides: `The Emergency Court of Appeals, and Supreme Court upon review of judgments and orders of the Emergency Court of Appeals, shall have exclusive jurisdiction to determine the validity of any regulation or order issued under section 2, of any price schedule effective in accordance with the provisions of section 206, and of any provision of any such regulation, order, or price schedule. Except as provided in this section, no court, Federal, State, or Territorial, shall have jurisdiction or power to consider the validity of any such regulation, order, or price schedule, or to stay, restrain, enjoin, or set aside, in whole or in part, any provision of this act authorizing the issuance of such regulations or orders, or making effective any such price schedule, or any provision of any such regulation, order, or price schedule, or to restrain or enjoin the enforcement of any such provision.' Therefore, neither the Court of Appeals nor this court is a proper forum in which to attack the validity of the emergency price control act. . . If we should answer the question propounded *Page 827 
in the affirmative, the result would be to do indirectly what neither the Court of Appeals nor this court can do directly, to wit, for all practical purposes nullify the emergency price control act. The parties to the lease-contract entered into the contract charged with knowledge of the law. They, therefore, had knowledge that the lease agreement was made subject to the approval of the Office of Price Administration in so far as the amount of rent to be paid was concerned, and that the rent might be either raised or lowered. When the Office of Price Administration did determine the necessity of a change in the amount of rent to be paid, nothing happened that in law was not within the contemplation of the parties when the lease agreement was entered into. Neither party to the contract can, for that reason, treat the lease agreement as rescinded."
In view of the above-quoted decision of the Supreme Court, the judgment of the appellate division of the civil court of Fulton County, affirming the judgment of the trial judge denying a new trial, is
Affirmed. MacIntyre and Gardner, JJ., concur.